     Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 1 of 14



                             United States District Court
                         District of Massachusetts




DHAN2UTJAY FATEL, SAFDAR HUSSAIN,
VATSAL CHOKSHI, DHAVAL PATEL AND
NIRAL PATEL, AND ALL OTHERS
SIMILARLY SITUATED,
                                                  Civil Action No
               PLAINTIFFS,                        17-11414-NM6


            V.


7-ELEVEN,      INC.,


               DEFENDANT AND THIRD-
               PARTY PLAINTIFF.




               V.


DPNEWTOl, DP TREMONT STREET
INC., DP MILK STREET INC., DP
JERSEY INC. ,


               THIRD-PARTY
               DEFENDANTS.




                               MEMORANDUM & ORDER



GORTON,   J.

     This is a putative class action brought by Dhananjay Patel,

Safdar Hussain, Vatsal Chokshi, Dhaval Patel and Niral Patel

 (collectively "'named plaintiffs" or "franchisees") on behalf of

individuals who have acquired franchises from 7-Eleven, Inc.

 ("7-Eleven" or "defendant") in the Commonwealth of

Massachusetts.


                                      -   1   -
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 2 of 14
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 3 of 14
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 4 of 14
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 5 of 14
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 6 of 14
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 7 of 14
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 8 of 14
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 9 of 14
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 10 of 14
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 11 of 14
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 12 of 14
Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 13 of 14
     Case 1:17-cv-11414-NMG Document 81 Filed 09/06/19 Page 14 of 14



     Finally, the Court rejects defendant's argument that

plaintiffs' counsel acted in bad faith.       The Court will not

assume that, because plaintiffs filed a motion to dismiss

defendant's counterclaims under Fed. R. Civ. P. 12(b)(6), as

opposed to Fed. R. Civ. P. 12(c), plaintiffs knew they had

failed to file an answer.      Consistent with established Supreme

Court principle,

     [t]he Federal Rules reject the approach that pleading is a
     game of skill in which one misstep by counsel may be
     decisive to the outcome and accept the principle that the
     purpose of pleading is to facilitate a proper decision on
     the merits.

Foman v. Davis, 371 U.S. 178, 181-82 (1962).

     Accordingly, because defendant faces minimal prejudice,

plaintiffs have proffered a sufficient excuse and defendant has

not demonstrated that plaintiffs acted in bad faith, plaintiffs'

motion for leave to file a late answer will be allowed.

                                 ORDER

     For the foregoing reasons, plaintiffs' motion to dismiss

defendant's counterclaims and third-party complaint (Docket No.

62) is DENIED and plaintiffs' motion for leave to file a late

answer (Docket No. 68) is ALLOWED.

So ordered.



                                         United States District Judge

Dated September    0,   2019

                                 - 14 -
